
PER CURIAM.
By petition for writ of certiorari, we have for review an order of the Florida Industrial Commission bearing date November 20, 1968.
*5We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petitions, records and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition for certiorari is therefore denied.
Attorneys’ fees in the amount of $250.00 are awarded to respondent-Lewis J. Joiner’s attorney.
It is so ordered.
ROBERTS, Acting C. J., and DREW, THORNAL, CARLTON and ADKINS, JJ., concur.
